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IN THE UNITED STATES DIST`R{CT COURT FOR THE
NORTHERN DISTRICT OF ILLINDIS
EASTERN DI`VIS!ON
MORGAN STANLEY SI\S’.ITH BARNEY LLC,_

P}aintii`f, x
No. §7~0\'-(}910?

'\»'. §
STEVEN GLAZER, ;

Dofo:§dont.

Q.B,J_?:ER

AND NOW, this ____ day oi`Decomi)er, 2017 upon consideration of the Complaint
of Morgan Stanicy Smith Barney LLC (hereinaiier referred io as “i‘viorgan Stauiey”), and the
partics, by oourasei, having stipuiated to the entry of the order set forth boiow;

f’l‘ IS HEREBY ORDERED AND DECREED THA'I`:

i. .A Temporory Resirnining Order issue immediateiy, ns foiiows;

2. Dei"enciant is immediately enjoined and restrained, directly or indirectiy,
and whether alone or in concert with oihers, inoiucling any officer, age.nt, omployoe; and/or
representative of Asset Managoment Group, Ltd. (“Asset Management Group") from doing any
of the foiiowing:

(i) soliciting or attompi€ng lo soiioit any Moi‘gan Stanley ciients

serviced by Glazer or whose names became known 10 him during his

cmploymen! at 'Morgan Sianioy with rcspeci 10 securities, commoditios,

iinanciai futures, insurance, tax od'vantaged investments, mutual funds or

 

 

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any other line of business in which Morgao Stazrlcy or any of its affiliates

is engaged (cxolu<iing G'iazer‘o family and rc|otivcs)~,

{ii) recruiting or soliciting any employee of Morgon Stanlcy for

employment or other business relationship with any other organization

which does business in scottritics, oomnrorlities, financial futures,,

insuranoc, tax advontngcd invcsoncnts, mutual funds or any other lino of

business in which i\/Iorgan Starrley or any of its affiliates is cngagcd;

(iii) Usiog, disclosing or transmitting for any purpose, any rccorcls,

documco.ts, or information rolailog in any way to the clients or business

operations oflvforgao Staoley, whether in originol, copied, compotor‘izeci,

handwritten or any other form {h¢i'cai’tcr thc “Reoords and lnformotiorr”};

{iv) Rctoining, in any f‘orm, including without limitation original,

oopiod, computor'izod, handwritten or any other form, any Reoords and

lnformotion; oocl

(v) Any and ali other such acts as this Court deems appropriate for injunctive

relief

3. Defcndont, and anyone acting io concert or participation with Defcrrdant,
including any agent, employco, officer or representative of Assot Managemonr Group, arc former
ordered to return to Mor‘gao S£aolcy all rooords, documents, and information pertaining to thc
clients, business or marketing strategios, or‘ous;iness operations of Morgrm Stonloy, whether in
original, copiod, computcr‘izod, handwritten or any other form, and to purge any such
information from his possession, custody, or control after providing all such information to

Pioiotii"f’s oounsol, within twenty»four (24) hours of notice to Dcfeociant or his counsel of the

 

 

 

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terms of tito Coort’s Ot‘clor;

4. Nothiug in this Oirlcr shall prohibit Glozcr front responding to ioqsiricss
initiated by clients oE`Morgsn Stsnie.y if such inquiries wore marie after Docombor 2€}, 2017. in
the event a client of Morgoo Staniey initiates an inquiry to Glozor after Dcconxbcr 20, ?.t}i ?,
Giszcr shall keep a contonipotsneous log of inquiries from those clients to Wliioh hs is
responding (indioating client oame, date of rcquost/inqttiry, and Wiicthor such inquiry Wss mode
itt porson, by piiono, by iottor of by et‘oaii}, Glszci' reiterates his intention to fully comply with
the harms ofthis Ot‘ocr;

5. Notlziiig set forth above shall be construed as authorizing or permitting
Giazct to solicit Morgoo Stanlcy ciicots or otherwise vioiate this Oi'dor {rogordlcss of who
initiates the oontoct). To tile extent folloch responds to inquiries initiated by clients after
Dcccmbcr 20, 201‘?, ss set forth above, and the Morgan Stanley client ultimately transfers his!hcr
account to Giazor (anci those companies with which tro is associstoo), Morgan Stonioy reserves
tito right to seek damages with respect to any prior solicitation that lsd to such client inquiry, and
to chailcogc the circumstances of such inquiry;

6. 'I`iiis 'Ot'cicr shall remain in full force and effect until thc entiy'of on Ordct‘
following a full evidentiary locating under f-`JNRA Rulc 1380-ii on tito issue of permanent
injunciivs relief in the arbitration between Morgan Stanley soo Giazor before FINRA Dispute
Rcsolntion, after Wiiiolz the Panoi may vacotc, modify or extend any injunctive order as die panel
deems oppropristo. Oncc the panoi colors its ordot', this Stipulation soo Ortlcr will expire and-thc
parties will dismiss this action, with prejudice and without costs;

7. Pttrsoaot to tide x‘cqoir¢msnts of sections 3 and 4 of thc Fodc`rsl Arbitration

Aot, 9 U.S.C`. §§ 3~4, tile parties arc directed to proceed to expedited arbitration hearings on the

 

 

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merits'be'fore a duly appointed panel of arbitrators pursuant to_Ruie .'13804 of_the FINRA C`ode '0£
Arbitraiion Precedure; and

8. This Order is entered to maintain the stems quo ente,'anc§ not as a decision
on the merits. N.Othing herein ghaii be deemed to be a waiver of any 1‘_§ ghis, remedies, claims or
defenses of any of the parties, ail of which are expressly reserved hei'ein, or an admission of
wrongdoing

SO ORDERED.

Decembeej_@, 2617 at Yryg,doc¢

     
  

Seen and agreed 101

  

D Miehlcin, Esq l
" Attorney for Defenda§nt

 

